Case 2:13-cv-02156-PKH Document 23                Filed 12/09/13 Page 1 of 2 PageID #: 136




                                      IN THE
                          UNITED STATES COURT OF APPEALS
                              FOR THE EIGHTH CIRCUIT


HALEY WHEELER                                                          PLAINTIFF-APPELLANT



v.                                   CASE NO.: 13-2156



UNITED STATES OF AMERICA                                               DEFENDANT-APPELLEE


                                    NOTICE OF APPEAL

       Comes now the Plaintiff, Haley Wheeler, by and through her attorney, Bill D. Reynolds,

and for her Notice of Appeal states as follows:

       1.      The Plaintiff respectfully appeals the Judgment of the Court entered on November

15, 2013;

       2.      Attached hereto and incorporated by reference is Appellant’s Form A.



                                             Respectfully submitted,

                                             Haley Wheeler, Plaintiff-Appellant

                                             /s/ Bill D. Reynolds
                                             Bill D. Reynolds, ABA# 92021
                                             NOLAN CADDELL REYNOLDS, P.A.
                                             P.O. Box 184
                                             Fort Smith, AR 72902
                                             (479)782-5297
                                             Email: breynolds@justicetoday.com
Case 2:13-cv-02156-PKH Document 23                Filed 12/09/13 Page 2 of 2 PageID #: 137




                                CERTIFICATE OF SERVICE



       I, Bill D. Reynolds, do hereby certify that I have served a true and exact copy of the
above and foregoing pleading upon the Defendant by CM-ECF e-mail on this 9th day of
December, 2013 to:

Mr. Christopher R. Johnson
U.S. District Court
Western District of Arkansas Clerk’s Office
30 S. Sixth Street
P.O. Box 1547
Fort Smith, AR 72902-0000

Deborah J. Groom
Assistant United State Attorney
414 Parker Avenue
Fort Smith, Arkansas 72901
Phone: 479-783-5125
Fax: 479-441-0569
Email: debbiegroom@usdoj.gov


                                                     /s/ Bill D. Reynolds
                                                     Bill D. Reynolds
